From:      Vince Kadlubek <vince@meowwolf.com>
Subject:   Re: big dayCase
                       at MW1:20-cv-00237-KK-SCY Document 88-1 Filed 03/29/21 Page 1 of 1
Sent:      Wed, 22 Apr 2015 08:30:16 -0600
Cc:        Vince Kadlubek <vince@meowwolf.com>
To:        Oliver/Quellette <quellette@gmail.com>

Come down! Hang out, work. I will be in ABQ but would love to talk narrative soon!

On Apr 22, 2015, at 7:49 AM, "Oliver/Quellette" <quellette@gmail.com> wrote:


       Good morning. Corvas suggested we talk about the narrative and how my parallel universe might
       relate back to yours.

       Also, I'm not sure I actually have a contract yet -- I thought you sent, and I can't find it.

       What's the vibe on coming down this morning?


       LO|Q
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       skippy day.
